       Case 2:10-cv-00073-LRS                  ECF No. 9   filed 05/10/10        PageID.70    Page 1 of 1

AO 450 (Rev. 5/85) Judgment in a Civil Case



            UNITED STATES DISTRICT COURT
                                    Eastern District of Washington
 DENISE MARIE THOMAS,

                                      Plaintiff,
                                                                     JUDGMENT IN A CIVIL CASE
                                       v.
 UNITED STATES,
                                                                     CASE NUMBER: CV-10-0073-LRS
                                      Defendant.


     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

 ✘   Decision by Court. This action came to hearing before the Court. The issues have been
     heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that Plaintiff's Complaint is dismissed without prejudice
pursuant to the Order of Dismissal entered on May 10, 2010, Ct. Rec. 8.




May 10, 2010                                                 JAMES R. LARSEN
Date                                                         Clerk
                                                             s/ Cora Vargas
                                                             (By) Deputy Clerk
                                                             Cora Vargas
